                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 1 of 24 Page ID #:2972




                                                                      1   FREEMAN MATHIS & GARY, LLP
                                                                          THEODORE C. PETERS (CA Bar No. 235115)
                                                                      2   tpeters@fmglaw.com
                                                                          ELIZABETH G. FELLMETH (CA Bar No. 300015)
                                                                      3   efellmeth@fmglaw.com
                                                                          2615 Pacific Coast Highway, Suite 300
                                                                      4   Hermosa Beach, California 90254
                                                                          Tel: (310) 937-2066
                                                                      5   Fax: (310) 937-2064

                                                                      6   Attorneys for Defendants Buckman, Buckman & Reid, Inc. and Peter Lau

                                                                      7

                                                                      8                     UNITED STATES DISTRICT COURT

                                                                      9                    CENTRAL DISTRICT OF CALIFORNIA
FREEMAN MATHIS & GARY, LLP
                             2615 Pacific Coast Hwy, Suite 300




                                                                     10
                                Hermosa Beach, CA 90254




                                                                     11   EFT HOLDINGS, INC., f/k/a EFT          Case No. 2:15-cv-01597-GW (RAOx)
                                                                          BIOTECH HOLDINGS, INC., a              [Honorable. George H. Wu, Presiding]
                                                                     12   Nevada corporation,
                                                                                                                 PROPOSED REVISED VERDICT
                                                                     13                     Plaintiffs,          FORMS

                                                                     14         v.

                                                                     15   CTX VIRTUAL TECHNOLOGIES,              Action Filed:     March 4, 2015
                                                                          INC., a Delaware corporation;          Trial Date:       November 7, 2017
                                                                     16   BUCKMAN, BUCKMAN & REID,
                                                                          INC., a Delaware corporation; CLIFF
                                                                     17   RHEE, an individual; and PETER
                                                                          LAU, an individual,
                                                                     18
                                                                                            Defendants.
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                                                                                              PROPOSED REVISED VERDICT FORMS                     1
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 2 of 24 Page ID #:2973




                                                                      1         Plaintiff EFT Holdings, Inc. and Defendants Buckman, Buckman & Reid,

                                                                      2   Inc., and Peter Lau submit their proposed revised jury instructions.

                                                                      3       VERDICT AS TO CLAIMS OF PLAINTIFF EFT HOLDINGS, INC.
                                                                      4         We, the jury in the above entitled action, answer the questions submitted to
                                                                          us as follows:
                                                                      5
                                                                                           Third Cause of Action – Fraud-Misrepresentation
                                                                      6
                                                                             1. Did Defendants represent to Plaintiff a material fact that was false?
                                                                      7

                                                                      8         ____ Yes      ____ No

                                                                      9
FREEMAN MATHIS & GARY, LLP




                                                                                If your answer to question 1 is yes, then answer question 2. If you
                             2615 Pacific Coast Hwy, Suite 300




                                                                     10
                                Hermosa Beach, CA 90254




                                                                                answered no, skip questions 2 through 6 and proceed to question 7.

                                                                     11
                                                                             2. Did Defendants know the representation was false when they made it, or did
                                                                     12         Defendants make the representation recklessly and without regard for its
                                                                                truth?
                                                                     13

                                                                     14         ____ Yes      ____ No

                                                                     15
                                                                                If your answer to question 2 is yes, then answer question 3. If you
                                                                     16         answered no, skip questions 3 through 6 and proceed to question 7.

                                                                     17
                                                                             3. Did Defendants intend that Plaintiff rely on the false representation?
                                                                     18
                                                                                ____ Yes      ____ No
                                                                     19

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                                                                                                 PROPOSED REVISED VERDICT FORMS                          2
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 3 of 24 Page ID #:2974




                                                                      1        If your answer to question 3 is yes, then answer question 4. If you
                                                                      2        answered no, skip question 4 through 6 proceed to question 7.
                                                                            4. Did Plaintiff reasonably rely on Defendants’ false representation?
                                                                      3

                                                                      4        ____ Yes     ____ No

                                                                      5
                                                                               If your answer to question 4 is yes, then answer question 5. If you
                                                                      6        answered no, skip question 5 and 6 and proceed to question 7.

                                                                      7
                                                                            5. Was Plaintiff harmed by its representation on Defendants’ false
                                                                      8        representation?

                                                                      9
                                                                               ____ Yes     ____ No
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                             2615 Pacific Coast Hwy, Suite 300




                                                                     10
                                Hermosa Beach, CA 90254




                                                                               If your answer to question 5 is yes, then answer question 6. If you
                                                                     11
                                                                               answered no, skip question 6 and proceed to question 7.
                                                                     12
                                                                            6. Was Plaintiff’s reliance on Defendants’ false representation a substantial
                                                                     13        factor in causing its harm?
                                                                     14
                                                                               ____ Yes     ____ No
                                                                     15

                                                                     16        Proceed to question 7.

                                                                     17
                                                                                             Fourth Cause of Action – Concealment
                                                                     18
                                                                            7. Did Defendants intentionally conceal or suppress a material fact in the due
                                                                     19
                                                                               diligence they performed of CTX Virtual Technologies, Inc. (“CTX”);
                                                                     20        ____ Yes     ____ No

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                                                                                               PROPOSED REVISED VERDICT FORMS                        3
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 4 of 24 Page ID #:2975




                                                                      1        If your answer to question 7 is yes, then answer question 8. If you
                                                                      2        answered no, skip questions 7 through 13 and proceed to question 14.

                                                                      3     8. Did Defendants owe Plaintiff a duty to disclose the material fact to
                                                                               Plaintiff?
                                                                      4

                                                                      5        If your answer to question 8 is yes, then answer question 9. If you
                                                                      6        answered no, skip questions 8 through 13 and proceed to question 14.

                                                                      7     9. Was the material fact Defendants intentionally concealed or suppressed
                                                                               unknown to Plaintiff and not reasonably discoverable by Plaintiff?
                                                                      8

                                                                      9        ____ Yes     ____ No
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                             2615 Pacific Coast Hwy, Suite 300




                                                                     10
                                Hermosa Beach, CA 90254




                                                                               If your answer to question 9 is yes, then answer question 10. If you
                                                                     11
                                                                               answered no, skip questions 9 through 13 and proceed to question 14.
                                                                     12
                                                                            10.Did Defendants intend to deceive Plaintiff by concealing or suppressing the
                                                                     13        material fact?

                                                                     14
                                                                               ____ Yes     ____ No
                                                                     15

                                                                     16        If your answer to question 10 is yes, then answer question 11. If you
                                                                               answered no, skip questions 10 through 13 and proceed to question 14.
                                                                     17

                                                                     18     11. Had the omitted material fact been disclosed, would Plaintiff reasonably
                                                                               have behaved differently?
                                                                     19

                                                                     20        ____ Yes     ____ No

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                                                                                               PROPOSED REVISED VERDICT FORMS                          4
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 5 of 24 Page ID #:2976




                                                                      1        If your answer to question 11 is yes, then answer question 12. If you
                                                                      2        answered no, skip questions 11 through 13 and proceed to question 14.

                                                                      3     12. Was Plaintiff was harmed by Defendants’ concealment or suppression of
                                                                               the material fact?
                                                                      4

                                                                      5        ____ Yes    ____ No
                                                                      6
                                                                               If your answer to question 12 is yes, then answer question 13. If you
                                                                      7
                                                                               answered no, skip questions 12 and 13 and proceed to question 14.
                                                                      8
                                                                            13.Was Defendants’ concealment or suppression of the material fact a
                                                                      9        substantial factor in causing harm to Plaintiff?
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                             2615 Pacific Coast Hwy, Suite 300




                                                                     10
                                Hermosa Beach, CA 90254




                                                                               ____ Yes    ____ No
                                                                     11

                                                                     12        Proceed to question 14.

                                                                     13
                                                                                      Second Cause of Action – Breach of Fiduciary Duty
                                                                     14
                                                                            14. Was Plaintiff a customer of Defendants at the time Defendants
                                                                     15        recommended a common stock unit offering investment in CTX Virtual
                                                                               Technologies, Inc. (“CTX”)?
                                                                     16

                                                                     17        ____ Yes    ____ No
                                                                     18
                                                                               If your answer to question 14 is yes, then answer question 15. If you
                                                                     19
                                                                               answered no, skip questions 14 through 18 and proceed to question 19.
                                                                     20

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                                                                                              PROPOSED REVISED VERDICT FORMS                           5
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 6 of 24 Page ID #:2977




                                                                      1     15. Did Defendants act on Plaintiff’s behalf for purposes of recommending a
                                                                               common stock unit offering investment in CTX?
                                                                      2
                                                                               ____ Yes    ____ No
                                                                      3
                                                                               If your answer to question number 15 is yes, then answer number 16. If you
                                                                      4
                                                                               answered no, skip questions 15 through 18 and proceed to question 19.
                                                                      5
                                                                            16. Did Defendants fail to act as a reasonably careful placement agent would
                                                                      6
                                                                               have acted under the same or similar circumstances in recommending a
                                                                      7        common stock unit offering investment in CTX;

                                                                      8
                                                                               ____ Yes    ____ No
                                                                      9
FREEMAN MATHIS & GARY, LLP
                             2615 Pacific Coast Hwy, Suite 300




                                                                               If your answer to question 16 is yes, then answer question 17. If you
                                                                     10
                                Hermosa Beach, CA 90254




                                                                               answered no, skip questions 16 through 18 and proceed to question 19.
                                                                     11
                                                                            17.Was Plaintiff harmed as a consequence of following Defendants’
                                                                     12
                                                                               recommendation?
                                                                     13
                                                                               ____ Yes    ____ No
                                                                     14

                                                                     15        If your answer to question 17 is yes, then answer question 18. If you
                                                                               answered no, skip question 17 and 18 and proceed to question 19.
                                                                     16

                                                                     17     18.Was Defendants’ conduct a substantial factor in causing Plaintiff’s harm?

                                                                     18
                                                                               ____ Yes    ____ No
                                                                     19

                                                                     20        Proceed to question 19.

                                                                     21

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                                                                                              PROPOSED REVISED VERDICT FORMS                           6
                                                                 Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 7 of 24 Page ID #:2978




                                                                      1                                         Damages
                                                                      2
                                                                             19. If you answered yes to all of questions 1 through 6; and/or yes to all of
                                                                      3         questions 7 through 13; and/or yes to all of questions 14 through 18, then
                                                                                answer question 20.
                                                                      4
                                                                                If you answered no to any of questions 1 through 6; and no to any of
                                                                      5
                                                                                questions 7 through 13; and no to any of questions 14 through 18, then stop
                                                                      6         here, answer no further questions, and have the presiding juror sign and date
                                                                                this form
                                                                      7

                                                                      8      20. What are Plaintiff’s damages?

                                                                      9                                                               TOTAL $___________
FREEMAN MATHIS & GARY, LLP




                                                                          Signed: ________________
                             2615 Pacific Coast Hwy, Suite 300




                                                                     10             Presiding Juror
                                Hermosa Beach, CA 90254




                                                                     11
                                                                          Dated: _________
                                                                     12

                                                                     13   After all verdict forms have been signed, notify the [clerk/bailiff/court attendant]
                                                                          that you are ready to present your verdict in this courtroom.
                                                                     14

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                                                                                                 PROPOSED REVISED VERDICT FORMS                         7
Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 8 of 24 Page ID #:2979




       VERDICT AS TO CLAIMS OF PLAINTIFF EFT HOLDINGS, INC.

          We, the jury in the above entitled action, answer the questions submitted to
   us as follows:

                  Third Cause of Action – Fraud-Misrepresentation

      1. Did Defendants represent to Plaintiff a material fact that was false?

         ____ Yes     ____ No

         If your answer to question 1 is yes, then answer question 2. If you answered
         no, skip questions 2 through 6 and proceed to question 7.

      2. Did Defendants know the representation was false when they made it, or did
         Defendants make the representation recklessly and without regard for its
         truth?

         ____ Yes     ____ No

         If your answer to question 2 is yes, then answer question 3. If you answered
         no, skip questions 3 through 6 and proceed to question 7.

      3. Did Defendants intend that Plaintiff rely on the false representation?

         ____ Yes     ____ No

         If your answer to question 3 is yes, then answer question 4. If you answered
         no, skip question 4 through 6 proceed to question 7.

      4. Did Plaintiff reasonably rely on Defendants’ false representation?

         ____ Yes     ____ No

         If your answer to question 4 is yes, then answer question 5. If you answered
         no, skip question 5 and 6 and proceed to question 7.



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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 9 of 24 Page ID #:2980




      5. Was Plaintiff harmed by its representation on Defendants’ false
         representation?

         ____ Yes     ____ No

         If your answer to question 5 is yes, then answer question 6. If you answered
         no, skip question 6 and proceed to question 7.

      6. Was Plaintiff’s reliance on Defendants’ false representation a substantial
         factor in causing its harm?

         ____ Yes     ____ No

         Proceed to question 7.


                        Fourth Cause of Action – Concealment

      7. Did Defendants intentionally conceal or suppress a material fact in the due
         diligence they performed of CTX Virtual Technologies, Inc. (“CTX”);

         ____ Yes     ____ No

         If your answer to question 7 is yes, then answer question 8. If you answered
         no, skip questions 7 through 13 and proceed to question 14.

      8. Did Defendants owe Plaintiff a duty to disclose the material fact to Plaintiff?

         If your answer to question 8 is yes, then answer question 9. If you answered
         no, skip questions 8 through 13 and proceed to question 14.




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 10 of 24 Page ID #:2981




      9. Was the material fact Defendants intentionally concealed or suppressed
         unknown to Plaintiff and not reasonably discoverable by Plaintiff?

         ____ Yes     ____ No

         If your answer to question 9 is yes, then answer question 10. If you
         answered no, skip questions 9 through 13 and proceed to question 14.

      10.Did Defendants intend to deceive Plaintiff by concealing or suppressing the
         material fact?

         ____ Yes     ____ No

         If your answer to question 10 is yes, then answer question 11. If you
         answered no, skip questions 10 through 13 and proceed to question 14.

      11. Had the omitted material fact been disclosed, would Plaintiff reasonably
         have behaved differently?

         ____ Yes     ____ No

         If your answer to question 11 is yes, then answer question 12. If you
         answered no, skip questions 11 through 13 and proceed to question 14.

      12. Was Plaintiff was harmed by Defendants’ concealment or suppression of
         the material fact?

         ____ Yes     ____ No

         If your answer to question 12 is yes, then answer question 13. If you
         answered no, skip questions 12 and 13 and proceed to question 14.




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 11 of 24 Page ID #:2982




      13.Was Defendants’ concealment or suppression of the material fact a
         substantial factor in causing harm to Plaintiff?

         ____ Yes    ____ No

         Proceed to question 14.



                Second Cause of Action – Breach of Fiduciary Duty

      14. Was Plaintiff a customer of Defendants at the time Defendants
         recommended a common stock unit offering investment in CTX Virtual
         Technologies, Inc. (“CTX”)?

         ____ Yes    ____ No

         If your answer to question 14 is yes, then answer question 15. If you
         answered no, skip questions 14 through 18 and proceed to question 19.

      15. Did Defendants act on Plaintiff’s behalf for purposes of recommending a
         common stock unit offering investment in CTX?

         ____ Yes    ____ No

         If your answer to question number 15 is yes, then answer number 16. If you
         answered no, skip questions 15 through 18 and proceed to question 19.

      16. Did Defendants fail to act as a reasonably careful placement agent would
         have acted under the same or similar circumstances in recommending a
         common stock unit offering investment in CTX;

         ____ Yes    ____ No

         If your answer to question 16 is yes, then answer question 17. If you
         answered no, skip questions 16 through 18 and proceed to question 19.



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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 12 of 24 Page ID #:2983




      17.Was Plaintiff harmed as a consequence of following Defendants’
         recommendation?

         ____ Yes      ____ No

         If your answer to question 17 is yes, then answer question 18. If you
         answered no, skip question 17 and 18 and proceed to question 19.

      18.Was Defendants’ conduct a substantial factor in causing Plaintiff’s harm?

         ____ Yes      ____ No

         Proceed to question 19.

                                         Damages

      19. If you answered yes to all of questions 1 through 6; and/or yes to all of
         questions 7 through 13; and/or yes to all of questions 14 through 18, then
         answer question 20.

         If you answered no to any of questions 1 through 6; and no to any of
         questions 7 through 13; and no to any of questions 14 through 18, then stop
         here, answer no further questions, and have the presiding juror sign and date
         this form

      20. What are Plaintiff’s damages?

                                                               TOTAL $___________

   Signed: ________________
             Presiding Juror

   Dated: _________

   After all verdict forms have been signed, notify the [clerk/bailiff/court attendant]
   that you are ready to present your verdict in this courtroom.



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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 13 of 24 Page ID #:2984




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 14 of 24 Page ID #:2985




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 15 of 24 Page ID #:2986




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 16 of 24 Page ID #:2987




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 17 of 24 Page ID #:2988




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 18 of 24 Page ID #:2989




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 19 of 24 Page ID #:2990




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 20 of 24 Page ID #:2991




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 21 of 24 Page ID #:2992




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Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 22 of 24 Page ID #:2993




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                                                         Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 23 of 24 Page ID #:2994




                                                                  1                                 PROOF OF SERVICE
                                                                  2   STATE OF CALIFORNIA, COUNTY OF ORANGE
                                                                  3         I am employed in the County of Orange. I declare that I am over the age of
                                                                      eighteen (18) and not a party to this action. My business address is 3030 Old
                                                                  4   Ranch Parkway, Suite 280, Seal Beach, California 90740.
                                                                  5         On October 20, 2017, I served the following document described as:
                                                                  6                     PROPOSED REVISED VERDICT FORMS
                                                                  7   on the interested parties in this action by placing the true copies thereof enclosed
                                                                      in sealed envelopes as follows:
                                                                  8
                                                                                        PLEASE SEE ATTACHED SERVICE LIST
                                                                  9
FREEMAN MATHIS & GARY, LLP
                             2615 Pacific Coast Hwy, Suite 300




                                                                      ( )   By U.S. Mail: I deposited such envelopes in the mail at Seal Beach,
                                                                 10
                                Hermosa Beach, CA 90254




                                                                            California. The envelopes were mailed with postage thereon fully prepaid.
                                                                 11   ( )   By Personal Service: I caused such envelope to be delivered by hand to the
                                                                            individuals below at the addresses listed.
                                                                 12
                                                                      ( )   By Facsimile Machine: I caused the above-referenced document(s) to be
                                                                 13         transmitted to the above-named person at the following telephone number
                                                                            above.
                                                                 14
                                                                      (X)   By Electronic mail: I caused the above-referenced document(s) to be
                                                                 15         transmitted to the below-named persons.
                                                                 16   (X)   (STATE) I declare under penalty of perjury under the laws of the State of
                                                                            California that the above is true and correct.
                                                                 17
                                                                            EXECUTED on October 20, 2017, at Seal Beach, California.
                                                                 18
                                                                                                              /s/Carole Serrano____
                                                                 19                                           Carole Serrano
                                                                 20

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                                                                                             PROPOSED REVISED VERDICT FORMS                        23
                                                         Case 2:15-cv-01597-GW-RAO Document 184 Filed 10/20/17 Page 24 of 24 Page ID #:2995




                                                                  1                                  SERVICE LIST
                                                                            EFT Holdings, Inc., et al. v. CTX Virtual Technologies, Inc., et al.
                                                                  2                  USDC Case No. 2:15-cv-01597 GW (RAOx)

                                                                  3   ATTORNEYS FOR PLAINTIFFS:                ATTORNEYS FOR DEFENDANT
                                                                      Lawrence C. Ecoff, Esq.                  GEORGE CURRY:
                                                                  4   Alberto J. Campain, Esq.                 Dick P. Sindicich, Esq.
                                                                      ECOFF CAMPAIN & TILLES, LLP              ZHONG LUN LAW FIRM
                                                                  5   280 S. Beverly Drive, Suite 504          4332 Wilshire Boulevard, Suite 200
                                                                      Beverly Hills, CA 90212                  Los Angeles, CA 90010
                                                                  6   Tel: 310 887-1850                        Tel: (323) 930-5690
                                                                      Fax: 310 887-1855                        Fax (323) 930-5693
                                                                  7   Email: ecoff@ecofflaw.com                Email: dicksindicich@zhonglun.com
                                                                      Email: campain@ecofflaw.com
                                                                  8
                                                                      Robert S. Altagen, Esq.
                                                                  9   LAW OFFICES OF ROBERT S. ALTAGEN
FREEMAN MATHIS & GARY, LLP




                                                                      INC.
                             2615 Pacific Coast Hwy, Suite 300




                                                                 10   1111 Corporate Center Drive, Suite 201
                                Hermosa Beach, CA 90254




                                                                      Monterey Park, CA 91754
                                                                 11   Tel: 323-268-9588
                                                                      Fax: 323-268-8742
                                                                 12   Email: rsaink@earthlink.net

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                                                                                          PROPOSED REVISED VERDICT FORMS                       24
